       Case 4:20-cr-00212-ALM-KPJ Document 343 Filed 03/27/23 Page 1 of 2 PageID #: 2934
AO 187 (Rev. 7/87) Exhibit and Witness List



                                                United States District Court
                                                            EASTERN DISTRICT OF TEXAS



            UNITED STATES OF AMERICA                                                                             EXHIBIT LIST
                                       V.                                                                        Case Number: 4:20CR212 ALM/KPJ
         DEBRA LYNN MERCER-ERWIN (1)
                  RAYLEIGH MOFFETT (2)

PRESIDING JUDGE                                                      GOVERNMENT ATTORNEY                                   DEFENDANT S ATTORNEY
Kimberly C. Priest-Johnson                                           Ernest Gonzalez, AUS A                               Joe White (1); William Behenna(2)
HEARING DATE (S)                                                     COURT REPO TER                                       COURTROOM DEPUTY
3/27/2023 Mtn Hearing (321, 324)                                     FTR                                                  M. Cox
GOVT. DEF.          DATE             MARKED
                   OFFERED                          ADMITTED                                             DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.     NO.

           1      3/27/2023              X                X          Email from Ernest Payton




 Include a notation as to the location of any exhibit not hel with the case file or not available because of size.
  Case 4:20-cr-00212-ALM-KPJ Document 343 Filed 03/27/23 Page 2 of 2 PageID #: 2935



Paul Mack

From:                Ernest Payton
Sent:                Monday, July 27, 2020 3:25 PM
To:                  Paul Mack
Subject:             FW: BIS OEE Outreach Packet
Attachments:         1 _BIS Mission Handout.pdf; 2_lntro to Export Controls.pdf; 3_Outreach Guide 12-17-12.pdf; 4_How to
                     Request an ECCN.pdf; 5_Guide to Export Licensing Requirements.pdf; 6_Know Your Customer
                     12-17-12.pdf; 7_Recognizing-Reporting 12-17-12.pdf; 8_Lists To Check 1 -17-12.pdf; 9_Reexport
                     Controls.pdf; 10_FF Guidance 12-17-12.pdf; 11_Ready Reference for Exporters-flyer.doc; 12_Watch
                     out for illegal export schemes-flyer.docx




    Original Message
From: Ernest Payton
Sent: Thursday, March 21, 2019 2:02 PM
To: Dwana Peters <dc @agcorp.com>; Debbie Mercer <DM@agcorp.com>
Cc: KM@agcorp.com
Subject: BIS OEE Outreach Packet

Debbie, Dwana,

Here is our OEE outreach packet for exporters. Please look over the material and use it in your export compliance
process. Also, please share with all employees that touch exports in your company. You may use the material for export
compliance training. After looking over it, please let me know if you have any questions.

Also, please let me know a time we can meet to discuss.

Meanwhile I will be researching a definitive answer for you concerning when an aircraft should be considered exported.

Very best regards,

Ernest Payton
Special Agent
BIS/OEE
(281)372-7136 office
(281) 642-0561 cell
